     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 1 of 12
                                                          Addendum A – Monitoring Protocols


A. Child Find Monitoring

1.     LEA Selection:

       a.     The LDOE shall annually calculate the rate at which each LEA in New Orleans
              identifies new students as eligible for services under the IDEA (“annual new
              identification rate”).

       b.     The annual new identification rate for each LEA shall be calculated by dividing
              the number of students each LEA identifies for initial eligibility under the IDEA
              between July 1 and June 30 by the total number of students enrolled in the LEA
              on October 1.

       c.     The LDOE shall annually conduct targeted monitoring at three (3) LEAs in New
              Orleans with the lowest new identification rates. The LDOE shall select for
              monitoring one (1) LEA serving grades K-5, one (1) LEA serving grades 6-8, and
              one (1) LEA serving grades 9-12.

                      1. New identification rates shall be determined for OPSB in each of the
                         relevant grade groupings above, and OPSB’s rates shall be compared
                         to other LEAs serving the relevant grade groupings. OPSB shall be
                         subject to targeted monitoring if it demonstrates the lowest new
                         identification rate in any of the three groupings.

2.     Student File Selection:

       a.     The LDOE shall review the files of a random, representative sample of students
              who: have Section 504 Plans; are in the RTI process; are under consideration by a
              School Building Level Committee; failed two (2) or more academic subjects in
              the prior school year; or are subject to more than ten (10) days of disciplinary
              removal during the school year.

       b.     The LDOE shall request a de-identified list of students who meet the above
              criteria between July 1 and June 30 of the prior academic year from each LEA
              targeted for monitoring and shall randomly select twenty (20) percent of the
              students on that list for file review.

                1. In the event that an LEA identifies less than fifty (50) students, the LDOE
                   shall review a minimum of ten (10) randomly selected files for students
                   meeting the above criteria at each targeted LEA.

                2. In the event that an LEA identifies less than ten (10) students, the LDOE
                   shall review the files of all students included on the list and shall supplement



                                             1 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 2 of 12
                                                         Addendum A – Monitoring Protocols

                    its review with additional randomly selected files of students who meet the
                    above criteria at the time of the monitoring.

3.     File Review Protocols:

       a.     The LDOE shall review de-identified student record files for each of the students
              identified through the selection process described above. The file review shall be
              conducted using the Child Find portion of the monitoring instrument, and the
              LDOE’s review shall include information sufficient to make all relevant
              determinations required by the monitoring tool.

4.     Staff Interview Protocols:

       a.     The LDOE shall conduct interviews with at least one (1) general education
              teacher of students with disabilities, one (1) special education teacher, one (1)
              general education administrator, and one (1) special education administrator or
              coordinator at each LEA selected for targeted monitoring.

                      1. In the event that OPSB is selected for targeted monitoring, the LDOE
                         shall conduct interviews with at least one (1) general education teacher
                         of students with disabilities, one (1) special education teacher, one (1)
                         general education administrator, and one (1) special education
                         administrator or coordinator from at least two (2) OPSB schools,
                         including at least one (1) school that is directly operated by OPSB and
                         one (1) charter school authorized by OPSB.

       b.     The staff interviews shall be conducted using the Child Find portion of the
              monitoring instrument. The LDOE may conduct additional interviews as
              necessary to gather information sufficient to make all relevant determinations
              required by the monitoring tool.

5.     School Site Visits:

       a.     In the event that LDOE’s review of information gathered through the student file
              review and staff interview processes: (1) is insufficient to make determinations of
              legal compliance, or (2) indicates that on-site observations or visual inspections
              of school facilities is necessary to make determinations of legal compliance,
              LDOE shall conduct on-site compliance monitoring at the LEA selected for
              targeted monitoring.

B. Related Services Monitoring

1.     LEA Selection:



                                             2 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 3 of 12
                                                         Addendum A – Monitoring Protocols

       a.     The LDOE shall annually calculate the rate at which each LEA in New Orleans
              provides related services to students eligible for such services under the IDEA
              (“service provision rate”).

       b.     The annual service provision rate shall be calculated by dividing the total number
              of minutes of related services per week identified in the IEPs of each student with
              a disability in an LEA on October 1 by the total number of students with
              disabilities enrolled in the LEA on October 1.

       c.     The LDOE shall annually conduct targeted monitoring at the three (3) LEAs in
              New Orleans with the lowest service provision rates.

2.     Student File Selection:

       a.     The LDOE shall review the files of students with disabilities, with particular
              emphasis on students with low-incidence disabilities. For purposes of Related
              Services monitoring, “student with a low-incidence disability” means a student
              who is eligible for special education and related services under the IDEA
              eligibility categories of deaf-blindness, deafness, hearing impairment, intellectual
              disability, multiple disabilities, orthopedic impairment, traumatic brain injury,
              autism spectrum disorders, or visual impairment including blindness.

       b.     The LDOE shall request a list of students with low-incidence disabilities from
              each LEA targeted for monitoring and shall randomly select twenty (20) percent
              of the students on that list for file review.

                1. In the event that an LEA identifies less than fifty (50) students, the LDOE
                   shall review a minimum of ten (10) randomly selected files for students
                   meeting the above criteria at each targeted LEA.

                2. In the event that an LEA identifies less than ten (10) students with low-
                   incidence disabilities, LDOE shall review all files of students with low
                   incidence disabilities and shall supplement its review with additional
                   randomly selected files of students with non-low-incidence disabilities.

3.     File Review Protocols:

       a.     The LDOE shall review de-identified student record files for each of the students
              identified through the selection process described above. The file review shall be
              conducted using the Related Services portion of the monitoring instrument, and
              the LDOE’s review shall include information sufficient to make all relevant
              determinations required by the monitoring tool.

4.     Staff Interview Protocols:

                                             3 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 4 of 12
                                                         Addendum A – Monitoring Protocols

       a.     The LDOE shall conduct interviews with at least one (1) general education
              teacher of students with disabilities, one (1) special education teacher, one (1)
              general education administrator, and one (1) special education administrator or
              coordinator at each LEA selected for targeted monitoring.

                      1. In the event that OPSB is selected for targeted monitoring, the LDOE
                         shall conduct interviews with at least one (1) general education teacher
                         of students with disabilities, one (1) special education teacher, one (1)
                         general education administrator, and one (1) special education
                         administrator or coordinator from at least two (2) OPSB schools,
                         including at least one (1) school that is directly operated by OPSB and
                         one (1) charter school authorized by OPSB.

       b.     The staff interviews shall be conducted using the Related Services portion of the
              monitoring instrument. The LDOE may conduct additional interviews as
              necessary to gather information sufficient to make all relevant determinations
              required by the monitoring tool.

5.     School Site Visits:

       a.     In the event that LDOE’s review of information gathered through the student file
              review and staff interview processes: (1) is insufficient to make determinations of
              legal compliance, or (2) indicates that on-site observations or visual inspections
              of school facilities is necessary to make determinations of legal compliance,
              LDOE shall conduct on-site compliance monitoring at the LEA selected for
              targeted monitoring.

C. Discipline Monitoring

1.     LEA Selection:

       a.     The LDOE shall annually calculate the rate at which each LEA in New Orleans
              removes students with disabilities for disciplinary purposes for more than ten (10)
              cumulative days in an academic year (“extended disciplinary removal rate”).

       b.     The annual extended disciplinary removal rate shall be calculated by dividing the
              total number of students with disabilities who experienced disciplinary removals
              for more than ten (10) cumulative days between July 1 and June 30 by the total
              number of students with disabilities enrolled in the LEA on October 1.

       c.     The LDOE shall annually conduct targeted monitoring at the three (3) LEAs in
              New Orleans with the highest extended disciplinary removal rates.

2.     Student File Selection:

                                             4 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 5 of 12
                                                          Addendum A – Monitoring Protocols

       a.     The LDOE shall review the files of a random, representative sample of students
              with disabilities who received six (6) or more Office Discipline Referrals or three
              (3) or more suspensions (in- or out-of-school) in a school year.

       b.     The LDOE shall request a de-identified list of students satisfying the above
              criteria during the prior school year from each LEA targeted for monitoring and
              shall randomly select twenty (20) percent of the students on that list for file
              review.

                1. In the event that an LEA’s list identifies less than fifty (50) students meeting
                   the above criteria, the LDOE shall review a minimum of ten (10) randomly
                   selected files for students meeting the above criteria at each targeted LEA.

                2. In the event that an LEA identifies less than ten (10) students meeting the
                   above criteria, the LDOE shall review all files of students meeting the
                   criteria and shall supplement its review with additional randomly selected
                   files of students identified under the disability categories of Emotional
                   Disturbance or Other Health Impairment.

3.     File Review Protocols:

       a.     The LDOE shall review de-identified student record files for each of the students
              identified through the selection process described above. The file review shall be
              conducted using the Discipline portion of the monitoring instrument, and the
              LDOE’s review shall include information sufficient to make all relevant
              determinations required by the monitoring tool.

4.     Staff Interview Protocols:

       a.     The LDOE shall conduct interviews with at least one (1) general education
              teacher of students with disabilities, one (1) special education teacher, one (1)
              general education administrator, and one (1) special education administrator or
              coordinator at each LEA selected for targeted monitoring.

                      1. In the event that OPSB is selected for targeted monitoring, the LDOE
                         shall conduct interviews with at least one (1) general education teacher
                         of students with disabilities, one (1) special education teacher, one (1)
                         general education administrator, and one (1) special education
                         administrator or coordinator from at least two (2) OPSB schools,
                         including at least one (1) school that is directly operated by OPSB and
                         one (1) charter school authorized by OPSB.



                                             5 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 6 of 12
                                                          Addendum A – Monitoring Protocols

       b.     The staff interviews shall be conducted using the Discipline portion of the
              monitoring instrument. The LDOE may conduct additional interviews as
              necessary to gather information sufficient to make all relevant determinations
              required by the monitoring tool.

5.     School Site Visits:

       a.     In the event that LDOE’s review of information gathered through the student file
              review and staff interview processes: (1) is insufficient to make determinations of
              legal compliance, or (2) indicates that on-site observations or visual inspections of
              school facilities is necessary to make determinations of legal compliance, LDOE
              shall conduct on-site compliance monitoring at the LEA selected for targeted
              monitoring.

D. Enrollment Monitoring

1.     LEA Selection:

       a.     The LDOE shall annually calculate the rate at which students with disabilities
              choose not to reenroll at each LEA in New Orleans each school year (“mobility
              rate”).

       b.     The annual mobility rate shall be calculated by dividing the total number of
              students with disabilities who are enrolled in a nonterminal grade at an LEA in
              New Orleans between September 1 and May 31 and are not enrolled at the LEA
              on October 1 of the following school year by the total number of students with
              disabilities enrolled in the LEA on October 1.

       c.     The LDOE shall annually conduct targeted monitoring at the three (3) LEAs in
              New Orleans with the highest mobility rates.

2.     Targeted Monitoring Protocols

       a.     The LDOE shall conduct targeted monitoring at selected LEAs by utilizing either
              the Related Services or Discipline targeted monitoring protocols.

       b.     The LDOE shall conduct targeted monitoring, using either the Related Services or
              Discipline protocols, at each LEA based on the targeted monitoring area in which
              the selected LEA performs least favorably as compared to all other LEAs in New
              Orleans.

       c.     Once the LDOE has determined the area in which each LEA will be monitored,
              the LDOE shall conduct monitoring activities consistent with the student file
              review, staff interview, and on-site monitoring requirements specified for the
              targeted monitoring area in which the LEA is being monitoring.

                                             6 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 7 of 12
                                                           Addendum A – Monitoring Protocols


E. Conditional, Randomized LEA Monitoring

1.     LEA and Targeted Monitoring Area Selection:

       a.     In the event that the LEA selection procedures described in Sections A through D
              result in less than ten (10) LEAs being identified for targeted monitoring, the
              LDOE shall randomly select additional LEAs for monitoring so that a minimum
              of ten (10) LEAs are monitored each year.

       b.     LEAs that are randomly selected for monitoring pursuant to this section will be
              monitored in one of the four targeted monitoring areas described above. The
              LDOE shall monitor randomly selected LEAs in the targeted monitoring area in
              which the selected LEA performs least favorably as compared to all other LEAs
              in New Orleans.

2.     Targeted Monitoring Protocols:

       a.     Once the LDOE has determined the area in which each LEA will be monitored,
              the LDOE shall conduct monitoring activities consistent with the student file
              review, staff interview, and on-site monitoring requirements specified for the
              targeted monitoring area in which the LEA is being monitoring.

F. General LEA Selection Provisions

1.     In the event that, as the result of a statistical tie, more than three LEAs are identified for
       targeted monitoring through any of the LEA selection processes described above, the
       LDOE shall select for monitoring the LEA which has the greatest enrollment on October
       1 as used in the applied LEA selection formula.

2.     By agreement of the Plaintiffs and the LDOE, individual LEAs may be excluded from the
       targeted monitoring process. The exclusion of an individual LEA from targeted
       monitoring shall not reduce the number of LEAs selected for targeted monitoring under
       each of the targeted monitoring areas or the total number of LEAs monitored.

G. Identification of Noncompliance

1.     Procedures upon Completion of Targeted Monitoring:

       a.     Upon the completion of file reviews, interviews, and on-site visits, the LDOE
              shall notify each monitored LEA of the results of the monitoring, including any
              preliminary findings of noncompliance. LDOE shall compile a preliminary draft
              of a Summary of Findings no later than thirty (30) days after the completion of
              the targeted monitoring activities, and submit this draft to the LEA.


                                              7 of 12
     Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 8 of 12
                                                        Addendum A – Monitoring Protocols

       b.     Upon receipt of the Summary of Findings, the LDOE shall provide each LEA
              thirty (30) days to respond to any preliminary findings of noncompliance.

       c.     Upon review of monitoring results and any LEA response, the LDOE shall issue a
              final Summary of Findings.

2.     Corrective Action:

       a.     The LDOE shall require any LEA found to be noncompliant to develop a plan of
              corrective action to address findings of noncompliance described in the Summary
              of Findings.

       b.     The LEA, in collaboration with the LDOE, will design a corrective action plan
              that defines specific supports and resources that the LEA must have in order to
              implement the corrective action plan. The corrective action plan must
              demonstrate how the LEA will: (1) address each individual case of
              noncompliance; and (2) implement the specific statutory or regulatory
              requirement to prevent a recurrence of similar noncompliance.

       c.     The plan of correction shall establish a reasonable timeline for completion of
              corrective actions. All findings of noncompliance shall be remedied within one
              year of the date on which the finding was made. Corrective action timelines will
              be tracked by LDOE to determine corrective action has been taken and to verify
              compliance. LEAs will submit evidence and data as requested by the LDOE to
              show completion of activities and evidence of change in the LEA as a result of the
              corrective action plan.

       d.     Based on a review of submitted documentation, the LDOE shall decide whether
              the LEA has met compliance requirements or determine whether there is
              continuing noncompliance.

       e.     In the event that continuing noncompliance is identified, the LDOE will require
              the LEA to develop an intensive corrective action plan to address the continuing
              noncompliance. In conjunction with the implementation of the approved plan, the
              LDOE will impose one or more of the sanctions described in La. Bulletin 1922
              §107(F).




                                            8 of 12
 Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 9 of 12
                                                                          Addendum A – Monitoring Protocols

A. Child Find                                                                                   Yes        No        N/A
                                                Student File Review Protocols
    1. The School Building Level Committee (“SBLC”) that discussed the student’s
       academic needs was comprised of at least a classroom teacher, the teacher
       who referred the student to the SBLC, and the principal of the school or a                ‫܆‬         ‫܆‬           ‫܆‬
       designee of the principal.
    2. If the School Building Level Committee referred the student for an initial
       evaluation, parental consent for an initial evaluation was obtained within a              ‫܆‬         ‫܆‬           ‫܆‬
       reasonable time following the SBLC’s decision to refer the student.
    3. Sufficient screening, including – if appropriate – participation in the Response
       to Intervention process, was conducted to identify the student as suspected               ‫܆‬          ‫܆‬            ‫܆‬
       of having a disability.
    4. If the student’s parent has requested an initial evaluation, the LEA either (1)
       requested parental consent to conduct the evaluation or (2) notified the
       parent in writing that the evaluation would not be conducted and the reasons              ‫܆‬         ‫܆‬           ‫܆‬
       that the LEA believed that an evaluation of the student was unnecessary.
    5. If student participated in the RTI process, the school collected sufficient data
       to determine the effectiveness of the interventions provided to the student.              ‫܆‬         ‫܆‬           ‫܆‬

    6. If student did not maintain expected progress while participating in the Response to
       Intervention process, the student was referred to the SBLC for consideration of an        ‫܆‬         ‫܆‬           ‫܆‬
       initial evaluation within a reasonable amount of time.
    9. Parental notice was provided describing any evaluation procedures that the
       agency proposed to conduct.                                                               ‫܆‬          ‫܆‬            ‫܆‬
    8. Parental consent was obtained to conduct an initial evaluation.                           ‫܆‬          ‫܆‬            ‫܆‬
  10. A variety of assessment tools and strategies (not the use of a single measure or
       assessment as the sole criterion) were used to gather relevant functional,
       developmental and academic information about the child, including information             ‫܆‬          ‫܆‬            ‫܆‬
       provided by the parent.
  11. Existing data (ex: evaluation data and info provided by parent; current
       classroom based, local or state assessment data; classroom observations
       and related service provider observations) was reviewed to determine                      ‫܆‬          ‫܆‬            ‫܆‬
       continued eligibility.
  12. A variety of sources (ex: teacher data, parent data, and related services data) were
       used to determine student eligibility.                                                    ‫܆‬          ‫܆‬            ‫܆‬

  13. For students who are eligible under Section 504 of the Rehabilitation Act, the
       student’s educational records indicate that the student does not require specially        ‫܆‬         ‫܆‬           ‫܆‬
       designed instruction.
                                                  Staff Interview Protocols

 Questions include but are not limited to the following:
   1. Describe the processes for conducting SBLC meetings, including the frequency of such meetings, the composition
       of the SBLC, the types of data considered by the SBLC, and the outcomes of the SBLC, in its normal course of
       business.
    2. Describe the process by which students at your school are referred to the SBLC. When was the last time a student
       at your school was referred to the SBLC?
    3. Describe the structure of the RTI process at your school, including the role of SBLC members, regular education
       teachers, special education staff, and school administrators in the RTI process.
    4. Describe the implementation of the RTI process at your school, including how academic and behavioral
       interventions are planned, implemented, and assessed for effectiveness. How often is a student’s progress in RTI
       reviewed?




                                                         9 of 12
 Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 10 of 12
                                                                           Addendum A – Monitoring Protocols

    5. Describe how special education evaluations are initiated at your school, including the process by which school staff
       refer students for an initial evaluation.
   6. Describe the process by which school staff respond to parental requests for an initial evaluation. Is this process the
       same if the student is in the RTI process?
    7. Describe, in general, how special education evaluations are conducted at your school, including the personnel
       responsible for conducting such evaluations.
    8. Describe how determinations are made concerning whether a student should be considered for eligibility under
       the IDEA or Section 504 of the Rehabilitation Act at your school.
   9. Describe, in general, the process by which the school completes initial evaluations for those students no longer
       enrolled in the school.



B. Related Services                                                                               Yes        No        N/A
                                          Student File Review Protocols
    1. The parents were invited to the Individualized Education Program (IEP)
       meeting.                                                                                   ‫܆‬          ‫܆‬           ‫܆‬
    2. If neither parent was able to attend the IEP team meeting, there is
       documentation of attempts to ensure parental participation.                                ‫܆‬          ‫܆‬           ‫܆‬
    3. The appropriate team members were present at the IEP team meeting (signature
       provided at IEP Team meeting).                                                             ‫܆‬          ‫܆‬           ‫܆‬
    4. The IEP for a school-age student includes a statement of present levels of
       academic achievement and functional performance, including how the student’s
                                                                                                  ‫܆‬          ‫܆‬           ‫܆‬
       disability affects involvement and progress in the general education curriculum.

    5. The IEP includes measurable, standards-based annual goals, including academic
       and functional goals. Benchmarks or short-term objectives should be included
       for students who take alternate assessments aligned to alternate achievement               ‫܆‬          ‫܆‬           ‫܆‬
       standards.
    6. The IEP contains related services which are reasonably calculated to enable the
       student to advance appropriately toward attaining annual goals; to be involved
       in and make progress in the general education curriculum in accordance with
       the student’s present levels of academic achievement and functional                        ‫܆‬          ‫܆‬           ‫܆‬
       performance; to participate in extracurricular and other academic activities;
       and to be educated and participate with other children with disabilities and
       nondisabled children in academic and non-academic school activities.
    7. The IEP contains an explanation of the extent, if any, to which the student will
       not participate with nondisabled students in the general education class and
       the LEA ensured that to the maximum extent possible the student was                        ‫܆‬          ‫܆‬           ‫܆‬
       educated with nondisabled students.
    8. The IEP contains descriptions of how progress toward annual goals will be
       measured, including how often parents will be regularly informed of their                  ‫܆‬          ‫܆‬           ‫܆‬
       child’s progress.
    9. Related services are being provided to the student in the types and frequency
       specified in the student’s IEP.                                                            ‫܆‬         ‫܆‬          ‫܆‬
                                                   Staff Interview Protocols
 Questions include but are not limited to the following:
   1. Describe, in general, how your school determines that a student requires related services in order to provide a
        particular student with a free, appropriate public education. What factors are considered?
    2. Describe, in general, how related services are provided to students at your school, including identifying the
        personnel who provide such services, how related services are scheduled into the academic day, and how the
        school provides services in cases of provider unavailability.


                                                         10 of 12
 Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 11 of 12
                                                                         Addendum A – Monitoring Protocols

   3.   Were any of the identified related service providers unavailable for all or part of the year? Describe the steps, if
        any, taken to address this unavailability.
    4   Describe the process by which school staff secures related service providers upon the enrollment of new students
        with specific related service needs. How long does this process take?
    5. Describe the information available to IEP Teams related to the impact of related services on an individual
        student’s functional performance and academic achievement.
    6. Describe any steps taken at your school to minimize the impact of students’ removal from general educational
        activities for the receipt of related services on the students’ academic achievement.



C. Discipline                                                                                      Yes         No        N/A
                                             Student File Review Protocols
    1. The Individualized Education Program (IEP) team considered, in the case of a
       student whose behavior impedes his/her learning, the use of positive
       behavioral interventions, supports, and/or other strategies to address the                   ‫܆‬          ‫܆‬          ‫܆‬
       behavior.
    2. Within ten (10) days of any decision to change the placement of a student with
       a disability because of a violation of a code of student conduct, the LEA                    ‫܆‬          ‫܆‬          ‫܆‬
       conducted a manifestation determination.
    3. The LEA notified the parent on the same day as the date of the removal
       decision of any removal that constituted a change of placement and provided
                                                                                                    ‫܆‬          ‫܆‬          ‫܆‬
       the parent with a copy of the notice of the procedural safeguards.
    4. The IEP team considered relevant information in the student’s file,
       including the student’s IEP, any teacher observations, and any relevant
       information provided by the parent, to determine whether the behavior was a                  ‫܆‬          ‫܆‬          ‫܆‬
       manifestation of the student’s disability.

    5. If the IEP team determined that the behavior was not a manifestation of the
       student’s disability and the suspension/expulsion was applied, the student
       continued to receive services so as to enable the student to continue to
                                                                                                    ‫܆‬          ‫܆‬          ‫܆‬
       participate in the general education curriculum, although in another setting,
       and to progress toward meeting the goals set out in the student’s IEP.
    6. If the IEP team determined that the behavior was a manifestation of the
       student’s disability, the student was returned to the current placement, unless
       the parent and the LEA agree to a change in placement as part of the behavioral              ‫܆‬          ‫܆‬          ‫܆‬
       intervention plan (“BIP”) or unless the behavior is related to weapons, drugs, or
       serious bodily injury.
    7. If the student did not have a functional behavioral assessment (“FBA”) developed
       and a BIP implemented prior to the removal, and the behavior was determined
       by the IEP team to be a manifestation of the disability, the IEP team completed              ‫܆‬          ‫܆‬          ‫܆‬
       the FBA and developed a BIP as soon as practicable.
    8. If the student had a BIP, the IEP team reviewed the plan as part of the
       manifestation determination process and revised it as needed.                                ‫܆‬          ‫܆‬          ‫܆‬

                                                Staff Interview Protocols

 Questions include but are not limited to the following:
   1. Describe any school-wide behavior management programs in place at your school. Does this program differ for
        students with disabilities? Is the program based upon the use of positive behavioral interventions and supports?




                                                        11 of 12
Case 2:10-cv-04049-JCZ-KWR Document 296-1 Filed 03/25/15 Page 12 of 12
                                                                      Addendum A – Monitoring Protocols

  2. Describe the system that your school uses to record and maintain disciplinary data. Does the system record out-
      of-school suspensions? In-school suspensions? Time spent in the “behavior room,” “cool-down room,” or “time-
      out center”?
 3.   Do school staff contact parents or family members and request that they pick up their students early from school
      for disciplinary purposes? How frequently does this occur? How are these removals recorded?
  4. Describe the procedures that your school implements when recommending a student for suspension or
      expulsion, including how notice is provided to parents and any procedures available to parents who want to
      contest the proposed disciplinary actions.
  5. Describe the procedures in place at your school to ensure that the procedural safeguards identified in the IDEA
      are provided to students with disabilities who are subject to over ten (10) days of disciplinary removal during a
      school year.
  6. Describe the processes for conducting Manifestation Determination Reviews (MDRs), including the frequency of
      such meetings, the composition of the participating staff, the types of information considered, and the outcomes.
  7. Describe how your school conducts FBAs and creates BIPs for students, including the circumstances under which
      an FBA is initiated, the extent to which parents are included in the FBA process, and how BIPs are shared with
      relevant school staff.
  8. Describe, in general, how your school measures and documents the effectiveness of BIPs and how that
      information is shared with parents and IEP Team.




                                                     12 of 12
